94 F.3d 653
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Joseph N. HACKEN, Defendant-Appellant.
    No. 95-15037.
    
      Ninth Circuit.
      Submitted Aug. 12, 1996.*Decided Aug. 22, 1996.
      Before:  BROWNING, SCHROEDER and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Joseph Neil Hacken, a federal prisoner, appeals pro se the district court's denial of his 28 U.S.C. § 2255 motion challenging his criminal conviction on double jeopardy grounds.  We affirm.
    
    
      3
      Hacken contends that his criminal conviction violated the Double Jeopardy Clause because he had already been punished for the same conduct through prior civil forfeiture proceedings.  This contention is foreclosed by  United States v. Ursery, 116 S.Ct. 2135 (1996).
    
    AFFIRMED.1
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         Because we affirm the district court's denial of Hacken's motion under the former version of 28 U.S.C. § 2255, we do not consider whether the Antiterrorism and Effective Death Penalty Act of 1996 applies to this appeal
      
    
    